                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO



Civil Action No.: 1:12-cv-02550-WYD-KMT

KRISTINA HILL,
BRIAN EDWARDS, and
THOMAS PRIVITERE,

       Plaintiffs,

v.

PUBLIC ADVOCATE OF THE UNITED STATES,

       Defendant.

                     MOTION FOR LEAVE TO FILE FIRST AMENDED
                       COMPLAINT PURSUANT TO RULE 15(a)(2)


       Plaintiffs Kristina Hill, Brian Edwards, and Thomas Privitere, by and through their

counsel, hereby move pursuant to Fed. R. Civ. P. 15(a)(2) for leave to file the First Amended

Complaint attached hereto. In support of this Motion, Plaintiffs state as follows:

                 CERTIFICATION PURSUANT TO D.C. COLO. L.R. 7.1.A

       Plaintiffs’ counsel has conferred with counsel for Defendant, who stated that Defendant

objects to the relief requested in this Motion.

                                        INTRODUCTION

       On February 27, 2013, the National Association for Gun Rights (“NAGR”), Rocky

Mountain Gun Owners (“RMGO”), Lucius O’Dell (“O’Dell”), and Dudley Brown produced

documents in response to third party document subpoenas. These documents, along with those
produced by Defendant Public Advocate of the United States (“PAUS”), reveal that although

only the name Public Advocate of the United States appears on the Mailers at issue in this case,

the Mailers were a joint project of PAUS, NAGR, and RMGO. Specifically, NAGR and RMGO

personnel—including O’Dell, Dudley Brown, and Andrew Brown—assisted in creating and/or

coordinating the distribution of the Mailers, and RMGO provided financial support for the

Mailers. In light of this new information, which is discussed at length in the First Amended

Complaint, Plaintiffs have determined that it is appropriate to amend their Complaint: (1) to add

NAGR, RMGO, O’Dell, Dudley Brown, and Andrew Brown as defendants, and (2) to allege

recently-discovered facts in support of Plaintiffs’ claims for copyright infringement and

misappropriation.

                                     LEGAL STANDARD

       Fed. R. Civ. P. 15(a)(2) provides that a party may amend its pleading only by leave of

court or by written consent of the adverse party and that leave shall be freely given when justice

so requires. This rule “prescribes a liberal policy of amendment.” Stender v. Cardwell, No. 07-

cv-02503, 2011 U.S. Dist. LEXIS 38502, at *7 (D. Colo. Apr. 1, 2011). “In general, leave to

amend is only denied for reasons such as bad faith, undue delay, a dilatory motive on the part of

the movant, or undue prejudice to the opposing party.” Bylin v. Billings, 568 F.3d 1224, 1229

(10th Cir. 2009) (citing Frank v. U.S. West, Inc., 3 F.3d 1357, 1365 (10th Cir. 1993)).




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                                          ARGUMENT

       The Court should grant leave for Plaintiffs to file their First Amended Complaint because

justice so requires. As set forth below, the amendments will not unduly prejudice Defendant

PAUS, because Plaintiffs have not unduly delayed filing their First Amended Complaint, and

because Plaintiffs have not otherwise acted in bad faith.

       Justice requires that the Court permit Plaintiffs to add NAGR, RMGO, O’Dell, Dudley

Brown, and Andrew Brown as defendants and to allege facts that describe their wrongful acts.

Plaintiffs did not know of these individuals’ and entities’ involvement in the actions underlying

their Complaint when they filed this litigation on September 26, 2012. However, information

uncovered during discovery makes clear that, absent these amendments, Plaintiffs’ claims cannot

be fully or fairly adjudicated against all involved wrongdoers. As such, the Court should permit

Plaintiffs to amend their Complaint.

       Plaintiffs’ amendments will not unduly prejudice Defendant PAUS. Plaintiffs do not

seek to add any additional claims for relief against PAUS. They seek only to bolster their initial

claims and hold accountable all those who participated in the wrongful acts that prompted their

Complaint. Consequently, there is no risk of unduly prejudicing Defendant PAUS. See Childers

v. Indep. Sch. Dist. No. 1 of Bryan County, State of Okla., 676 F.2d 1338, 1343 (10th Cir. 1982)

(“The court’s refusal [to grant leave to amend] is particularly egregious in this case because the

subject matter of the amendment was already alleged in the complaint”).

       Finally, Plaintiffs have not unduly delayed these amendments or otherwise acted in bad

faith. This Motion is timely—the Deadline for Joinder of Parties and Amendment of Pleadings




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set by this Court is April 5, 2013, see Dkt. 76—and is the result of Plaintiffs’ good faith

investigation of the facts underlying their cause of action.

                                          CONCLUSION

       For the reasons set forth above and pursuant to Fed. R. Civ. P. 15(a)(2), Plaintiffs

respectfully request that the Court grant Plaintiffs’ Motion for Leave to File First Amended

Complaint and accept the First Amended Complaint attached hereto for filing as of the date of

the filing of this Motion.

       Respectfully submitted this 3rd day of April, 2013.

                                              s/ Daniel D. Williams

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                                CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic
service are being served with a copy of this document via the Court’s CM/ECF system on this
3rd day of April, 2013.

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                                                       s/ Amy S. Titus



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